         Case 1:18-cr-10192-FDS Document 21 Filed 08/08/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )      Criminal No: 18-10192-FDS
                                            )
1. NERY RODRIGUEZ DIAZ and                  )
2. ELMER ALFARO HERCULES,                   )
              Defendants                    )

                                 JOINT STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby submit this report in advance of

the status conference scheduled for August 14, 2018.

(1)    Status of Automatic Discovery and Pending Discovery Requests

       The government provided automatic discovery on July 31, 2018. The defendants are
       reviewing the discovery materials. There are no pending discovery requests.

(2)-(3) Additional Discovery/Timing of Requests

       The government does not have any additional discovery to produce at this time;
       however, any newly discovered evidence shall be disclosed pursuant to the Local
       Rules. The defendants do not yet know whether they will make additional discovery
       requests.

(4)    Protective Orders

       No protective orders are anticipated by the parties at this time.

(5)    Pretrial Motions

       The defendants do not yet know whether they will file any motions under Fed. R.
       Crim. P. 12(b).

(6)    Expert Discovery

       The Government agrees to provide expert witness disclosures, if any, 28 days prior to
       trial. The Defendants agree to provide expert witness disclosures, if any, 14 days prior
       to trial.
         Case 1:18-cr-10192-FDS Document 21 Filed 08/08/18 Page 2 of 3



(7)    Defenses of Insanity, Public Authority, or Alibi

       The defendants do not intend to raise a defense of insanity, public authority, or alibi.

(8)    Periods of Excludable Delay

       In its order dated July 30, 2018, the Court excluded the time from the date of the
       defendants’ initial appearance and arraignment on July 12, 2018, through the date of
       the initial status conference on August 14, 2018, in the interests of justice. D.16. The
       defendants agreed to the exclusion of time. As of August 14, 2018, no non-excludable
       days have elapsed, leaving 70 days to commence trial.

       The government requests that the time between the date of the initial status conference
       on August 14, 2018, through the date the case is next scheduled in court be excluded
       from all Speedy Trial Act calculations to allow the defendants sufficient time to review
       discovery and consider the need for pretrial motions and the parties sufficient time to
       explore disposition of this case short of trial. The defendants assent to the exclusion of
       time.

(9)    Whether Trial is Anticipated; Estimated Length of Trial

       If a trial is required, the parties anticipate it would last approximately three to five
       days.

(10)   Date for Further or Final Status Conference

       The parties request that the Court accept this report in lieu of appearing at the August
       14, 2018 conference. Further, and consistent with the Court’s July 30, 2018 scheduling
       order, the parties request that the Court schedule a final status conference in mid to
       late September 2018.

                                                   Respectfully submitted,

                                                   ANDREW E. LELLING
                                                   United States Attorney

/s/ Charles McGinty                         By:    /s/ Kelly Begg Lawrence
CHARLES McGINTY                                    KELLY BEGG LAWRENCE
Attorney for Nery Rodriguez Diaz                   CHRISTOPHER POHL
                                                   Assistant U.S. Attorneys

/s/ Victoria Bonilla
VICTORIA BONILLA
Attorney for Elmer Alfaro Hercules
         Case 1:18-cr-10192-FDS Document 21 Filed 08/08/18 Page 3 of 3



                              CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on August 8, 2018, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                                  /s/ Kelly Begg Lawrence
                                                  Kelly Begg Lawrence
                                                  Assistant U.S. Attorney
